     Case 2:11-cr-00054-TLN-CKD Document 346 Filed 01/05/17 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         No. 2:11-cr-0054 TLN CKD P
12                      Respondent,
13           v.                                        ORDER
14   MICHAEL BOLDEN,
15                      Movant.
16

17           Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set aside, or

18   correct his sentence pursuant to 28 U.S.C. § 2255. (ECF No. 331.) The matter was referred to a

19   United States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20           On September 13, 2016, the Magistrate Judge filed findings and recommendations herein

21   which were served on movant and which contained notice to movant that any objections to the

22   findings and recommendations were to be filed within fourteen days. Movant has filed objections

23   to the findings and recommendations. (ECF No. 342.)

24           In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

25   Court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

26   Court finds the findings and recommendations to be supported by the record and by proper

27   analysis.

28   /////
                                                      1
     Case 2:11-cr-00054-TLN-CKD Document 346 Filed 01/05/17 Page 2 of 2


 1             Accordingly, IT IS HEREBY ORDERED that:

 2             1. The findings and recommendations filed September 13, 2016, (ECF No. 339.), are

 3   adopted in full;

 4             2. Movant’s motion for collateral relief under 28 U.S.C. § 2255, (ECF No. 331.), is

 5   denied;

 6             3. The Court declines to issue the certificate of appealability referenced in 28 U.S.C. §

 7   2253; and

 8             4. The Clerk of the Court is directed to close the companion civil case, No. 2:15-cv-1744

 9   TLN CKD P.

10

11
     Dated: January 4, 2017
12

13

14                                                          Troy L. Nunley
                                                            United States District Judge
15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                        2
